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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 SAMANTHA SOHMER and KATHY L.                    Court File No. 18-cv-03191-JNE-BRT
 FELLGREN, Individually and on
 Behalf of All Others Similarly Situated,
                                                 NOTICE OF HEARING ON
                            Plaintiffs,          MOTION

 v.

 UNITEDHEALTH GROUP INC.,
 UNITED HEALTHCARE SERVICES,
 INC., UNITED HEALTHCARE
 INSURANCE COMPANY, OPTUM,
 INC., and OPTUMRX, INC.,

                            Defendants.


       PLEASE TAKE NOTICE that on the date and time to be determined, before the

Honorable Joan N. Ericksen, U.S. District Judge, District of Minnesota, in Courtroom

12W, located at 15 U.S. Courthouse, 300 South Fourth Street, Minneapolis, MN 55415,

Plaintiffs will move the Court for an order granting Plaintiffs’ Motion for Judgment on

the Pleadings.


 Dated: June 30, 2020                     Respectfully submitted,
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